                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 2:11-00002
                                                    )       Judge Trauger
[26] TRESHA MAE SHERRILL                            )


                                           ORDER

       At the revocation proceeding held on July 18, 2014, the parties announced an agreement

that is acceptable to the court. The defendant is scheduled to be admitted to the Samaritan

Center on July 28, 2014 for a 28-day program. It is hereby ORDERED that a status conference

shall be held on July 31, 2014 at 12:30 p.m. The defendant’s personal presence at this status

hearing is excused.

       It is so ORDERED.

       ENTER this 18th day of July 2014.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




Case 2:11-cr-00002        Document 1735        Filed 07/18/14     Page 1 of 1 PageID #: 4516
